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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


    RADIAN MEMORY SYSTEMS LLC,

                    Plaintiff,
                                                         Civil Action No.: 2:24-cv-1073
                        v.

    SAMSUNG ELECTRONICS CO., LTD.,
    AND SAMSUNG ELECTRONICS
    AMERICA, INC.,

                  Defendants.



            [PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION

        Upon considering the arguments presented by counsel for both parties as well as the

declarations submitted, the Court hereby ORDERS that a preliminary injunction is awarded

against the Defendants to restrain them, their subsidiaries, officers, agents, servants, employees,

and attorneys from making, using, offering to sell, or selling, within the United States or importing

into the United States solid-state drives (“SSDs”) containing the features claimed in U.S. Patent

No. 11,544,183 (“the ’183 Patent”) and U.S. Patent No. 11,347,656 (“the ’656 Patent”) without

the consent of the Plaintiff.

        Defendants are specifically ENJOINED as follows:

                Within two months, Defendants are ORDERED to stop making, using, selling,

                offering to sell, and importing SSDs with ZNS 1 capabilities and functionalities in



1
  As used herein, “ZNS” refers to commands, responses, capabilities, or functionalities described
in the NVMe Zoned Namespaces Command Set Specification and any related NVMe
commands, responses, capabilities, or functionalities from other NVMe specifications when used
with ZNS commands, responses capabilities, or functionalities.
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           the United States, and for any yet-to-be-sold or in-production SSDs, Defendants are

           further ORDERED to modify their firmware to remove ZNS capabilities and

           functionalities, to make the drives unable to accept or respond to ZNS commands,

           and to make the drives otherwise unable to provide any ZNS-based information;

           thereafter

           (a) without leave of Court, Defendants are permitted to make, sell, offer to sell, and

              import into the United States the modified in-production SSDs without ZNS

              capabilities or functionalities (described above);

           (b) without leave of Court, Defendants are permitted to make, sell, offer to sell, and

              import into the United States SSDs without ZNS-substitute capabilities and

              functionalities;

           (c) if Defendants desire to make, use, sell, offer to sell, and import into the United

              States SSDs with ZNS-substitute capabilities and functionalities, and if

              Defendants believe that these SSDs ZNS-substitute capabilities and

              functionalities avoid infringement of the claims of Plaintiff’s patents, the

              Defendants are first required to: (i) notify Plaintiff of their desire to do so in

              writing; (ii) produce the source code build for the new version of their SSD

              software-defined flash firmware to Plaintiff’s counsel and experts under the

              provisions of the Protective Order that protect the confidentiality of source code

              from public disclosure; (iii) produce supplemental responses to Plaintiff’s

              written discovery requests to explain the basis of Defendants’ belief of

              noninfringement; (iv) provide additional discovery that is reasonably related to

              infringement; (v) allow Plaintiff sufficient time, but in no event less than 30
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                   days, to evaluate the discovery and information received; and then (vi) meet

                   and confer with Plaintiff’s counsel for parties to try to reach agreement on

                   whether the new SSD firmware infringes; thereafter

                       i. if the Defendants have complied with the requirements in ¶(c) and the

                           parties agree that the new version of Defendants’ SSD firmware does

                           not cause the SSDs to infringe, Defendants may file an unopposed

                           motion seeking leave from this injunction to make, use, sell, offer to

                           sell, and import the SSDs with the new firmware in the United States;

                       ii. if the Defendants have complied with the requirements of ¶(c) and the

                           parties disagree about whether the new version of Defendants’ SSD

                           firmware would cause the SSDs to infringe, Defendants can file a

                           motion with the Court seeking leave from this injunction to make, use,

                           sell, offer to sell, and import the SSDs with the new firmware in the

                           United States, which the Court will either grant or deny after

                           considering both parties’ submissions and after conducting any

                           necessary further proceedings;

                      iii. if the Defendants have complied with the requirements ¶(c) and the

                           parties agree that the new version of Defendants’ SSD firmware would

                           cause the SSDs to infringe, Defendants are ENJOINED from making,

                           using, selling, offering to sell, and importing the SSDs with the new

                           firmware in the United States.

       Defendants shall be released from this injunction upon expiration of the ’183 Patent and

the ’656 Patent; otherwise, this injunction shall remain in force until further Order of the Court.
